  Case 1:04-cv-00052-T Document 32 Filed 11/23/05 Page 1 of 1 PageID #: 180




                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF RHODE ISLAND



JOSEPH VARS, ET AL.
Plaintiffs
           v.                                        C.A. No.    04-52T

LAURA CITRIN, ET AL.
Defendants

   ORDER GRANTING DEFENDANTS' MOTION FOR Y
                                         -
                                         S                 JUDGMENT AND
        DENYING PLAINTIFFS' MOTION FOR Y
                                       -
                                       S                 JU-

     For reasons stated in open court on November 18, 2005,
Defendants' Motion for Summary Judgment is hereby granted.
Plaintiffs' Motion for Summary Judgment is hereby denied.


                                               By Order




ENTER :




Ernest C. Torres
Chief Judge
Date: \\\zz\bT
